 

. ,CaSe :O - r-00638-LGB Document 174 Filed 07/12/04 Pagelofl Page|D#:€€
0 A Priority ______

, .*...__.-\ __ Send
Enter
uNITED sTA'rss DISTRICT coURT Cl Sed g
cENTRAL DISTRICT oF cALIFoRNIA »1 ° "
cRIMINAL MINUTES - APPEALS JS-SlJS-®;'_--

JS-z/JS-z§__.__
ScanOnlyfr____
U.s.c.c.A. case No. 03-50135 nate= Jul 12 2004 113
M

Case No. CROl-GBB-LGB

 

 

 

 

 

 

Catherine M. Jeanq Not Present Ronald Cheng[ Not Present
Deputy Clerk Court Reporter Asst. U. S. Attorney
INTERPRETER: N A
U.S.A. v. ATTORNEYS FOR DEFENDANTS:
BRET MCKANEL RANDY MCMURRAY
X Not Present Custodz O/R X Not Present X Retained
PROCEEDINGS: FILING AND SPREADING MANDATE OF THE NINTH CIRCUIT COURT OF
APPEALS

IN COURT X IN CHAMBERS X COUNSEL NOTIFIED X PROBATION NOTIFIED

THE COURT ORDERS that the mandate (judgment or order) of the Ninth Circuit
Court of Appeals:

Affirming Dismissing Appeal Affirming in part,
reversing in part

Remanding XX Reversing and Remanding

Other: Vacating and Remanding

is hereby filed and spread upon the minutes of this District Court.
(ENT

The Case is set for further proceedings as to Resentencing:
on at am/pm.

The defendant is remanded into custody forthwith.

The defendant is granted a stay of execution as to imprisonment.

Court orders defendant to self surrender on at

to the institution designated by the Bureau of Prisons or the U.S.
Marshal, 312 N. Spring Street, Los Angeles, if no institution has been

designated.

Court orders defendant be released from custody. Issued Release No.
to US Marshal

XX OTHER: The Court GRANTS the parties' Stipulation and Order to
Vacate Hearing on Filing and Spreading of Mandate of Court
of Appeals and to Dismiss Case filed on July 12, 2004.
Court orders appeal bond exonerated.

Court orders appeal bond exonerated upon defendant's self-surrender.

 

 

cc: U.S. Probation Office
prrpfr_,_,,,_
#”_J_F_,_
` E‘\ITER @n`it\£i\sl\gf De§uty Clerk_£%._
\ ’ ,f_»~“j V
F__,_
CR-47 (02/98) CRIMINAL MINUTES - A PEALS

JuL 26 2004 {:

 

